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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 Amer Gilani,

                        Plaintiff,
 v.
                                              CASE NO.: 1:19-cv-00827-JRN

 Javitch Block LLC,

                        Defendant.

                           DEFENDANT JAVITCH BLOCK LLC’s
                             SECOND MOTION TO DISMISS

       Now comes Defendant Javitch Block LLC, by and through the undersigned counsel, and

pursuant to Fed.R.Civ.P. 12(b)(6), hereby moves this honorable Court to dismiss Plaintiff’s

Amended Complaint for failure to state a claim upon which relief may be granted. A memorandum

in support is attached hereto and incorporated herein by reference as though fully rewritten.

Dated: October 25, 2019                      Respectfully Submitted

                                             /s/ Michael D. Slodov
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                                             Attorneys for Defendant
                                             Javitch Block LLC
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                                CERTIFICATE OF SERVICE

       I certify that on October 25, 2019, a copy of the foregoing was filed electronically in the

ECF system. Notice of this filing will be sent to the parties of record by operation of the Court’s

electronic filing system, including plaintiff’s counsel as described below. Parties may access this

filing through the Court’s system.

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Attorneys for the Plaintiff




                                                     /s/ Michael D. Slodov
                                                     Michael D. Slodov




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